       Case 1:19-cv-08655-LGS Document 247 Filed 11/21/22 Page 1 of 4




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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


ULKU ROWE,

                         Plaintiff,

                 v.                      Case No. 1:19-cv-08655 (LGS)

GOOGLE LLC,

                         Defendant.




                          MOTION FIVE:
   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION TO BE
PERMITTED TO ASK LEADING QUESTIONS DURING DIRECT EXAMINATION OF
          DEFENDANT’S CURRENT AND FORMER EMPLOYEES
         Case 1:19-cv-08655-LGS Document 247 Filed 11/21/22 Page 2 of 4




       Plaintiff may call as witnesses on her direct case individuals who are or were employed

by Google. Plaintiff seeks a ruling in limine that she may treat each of these witnesses as hostile

for purposes of Federal Rules of Evidence Rule 611. This includes, but is not limited to, the

following witnesses, who are current or former Google employees:

              Stuart Breslow: the individual who received the promotion to former Financial

               Services Vertical Lead.

              Jennifer Burdis: Google’s internal recruiter for the Technical Director role.

              Evren Eryurek: Level 9 Technical Director and Plaintiff’s comparator.

              William Grannis: Plaintiff’s direct supervisor and hiring manager for the

               Technical Director role;

              Bernita Jamison: Google’s 30(b)(6) witness;

              Adam Lief: Google’s 30(b)(6) witness;

              Kevin Lucas: Google’s Human Resources Business Partner who investigated

               Plaintiff’s complaints and its 30(b)(6) witness;

              Tariq Shaukat: Google’s Former President of Google Cloud, Plaintiff’s direct

               supervisor in the Global Client Technical Lead role, and decisionmaker with

               respect to the Financial Services Vertical Lead promotion;

              Brian Stevens: Google Cloud’s former Chief Technology Officer and Plaintiff’s

               skip-level manager while she worked in the Technical Director role;

              Stuart Vardaman: The recruiter for the promotions Ms. Rowe was denied.

              Benjamin Wilson: a former Level 9 Technical Director and Plaintiff’s

               comparator;



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         Case 1:19-cv-08655-LGS Document 247 Filed 11/21/22 Page 3 of 4




              Any other former or current Google employee called as a witness in Plaintiff’s

               direct case.

       Plaintiff deposed the above named individuals in this matter and Google represented each

of them, regardless of whether they were current or former employees. As such, Plaintiff seeks

permission of the Court to examine these hostile and adverse witnesses using leading questions.1

       Federal Rule of Evidence 611(c) provides that, “[o]rdinarily, the court should allow

leading questions (1) on cross-examination; and (2) when a party calls a hostile witness, an

adverse party, or a witness identified with an adverse party.” Federal courts routinely have held

that a defendant’s current and former employees are “witnesses identified with an adverse party”

under Rule 611(c), and therefore may be examined on plaintiff’s direct case using leading

questions. See Harewood v. Braithwaite, No. 09 Civ. 2874, 2013 U.S. Dist. LEXIS 168539, at *6

(E.D.N.Y. Sept. 23, 2013) (permitting leading questions of witness adverse to plaintiff); Sheehan

v. Metro. Life Ins. Co., 368 F. Supp. 2d 228, 235 (S.D.N.Y. 2005) (permitting plaintiff, pursuant

to Rule 611(c), to use leading questions in direct examination of HR consultant employed by

defendant); see also Chonich v. Wayne Cty. Cmty. Coll., 874 F.2d 359, 368 (6th Cir. 1989)

(holding that district court did not err in allowing plaintiff to examine defendant’s former

president and personnel director as adverse or hostile witnesses); Haney v. Mizell Mem’l Hosp.,

744 F.2d 1467, 1478 (11th Cir. 1984) (holding that district court erred in requiring plaintiff to

establish actual hostility by defendant’s former employee; rather, employee, who was present

when alleged tort may have occurred, “certainly was identified with a party adverse to”

plaintiff); Ellis v. City of Chicago, 667 F.2d 606, 612 (7th Cir. 1981) (holding that district court



1
 The Parties met and conferred regarding the scope of Plaintiff’s motion and Defendant
indicated it may be opening to entering into a stipulation with respect to certain individuals.
However, the parties were unable to come to agreement before the deadline to file this motion.
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         Case 1:19-cv-08655-LGS Document 247 Filed 11/21/22 Page 4 of 4




erred in denying permission to plaintiffs to ask leading questions during direct examination of

defendant’s employees); Walker v. Target Corp., No. 16 Civ. 42, 2017 U.S. Dist. LEXIS

107691, at *12 (S.D. Miss. July 12, 2017) (finding that “persuasive authorities provide that

witnesses who were employees or agents of a defendant at the time of the alleged tort are

identified with a party adverse to the plaintiff”); Stahl v. Sun Microsystems, Inc., 775 F. Supp.

1397, 1398 (D. Colo. 1991) (holding that defendant’s former employee is “clearly identified with

Defendant, both through her previous employment and her ongoing relationship with . . . a key

witness”).

       As each of these trial witnesses are currently or were formerly employed by Google,

and/or were represented by Google at their depositions, Plaintiff should be permitted to use

leading questions to examine them.


 DATED: New York, New York                           Respectfully submitted,
        November 21, 2022
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